Case 4:14-cV-02345 Document 153 Filed in TXSD on 06/08/18 Page 1 of 1

 

 

 

UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS
§
Securities & Exchange Cornmission §
§
§ ACTION NUMBER:
§ 4.'14-CV-02345
versus § U n
n id 3
§ Southom Dtl;¥?l;t(§;ugu
§ FILED ~ _
Andrew |. Farmer
§ JUN 08 2018
§

W J. md
ABSTRACT OF JUDGMENT '» add€°ul(

 

 

 

 

 

 

 

 

Date ofJudgrnent Entered: 18 JUly 2017

Judgment in Favor of: U.S. Securities and Exchange Commission
Judgment Against: Andl‘eW l. Farmel”

Amount of Judgrnent: $1,950,000.00

Amount of Costs: $

Rate of Interest: %

Amount of Credits Since Judgment: $

Amount Due:

 

 

 

 

The above and foregoing is a correct Abstract of Judgrnent entered in the United
States District Court, for the Southern District of Texas, in the above captioned case.

cLE co T
JUN 0 8 2018

DATED: By:

 

 

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